             Case 1:19-cv-00946-RP Document 84 Filed 05/17/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 NATIONAL PRESS PHOTOGRAPHERS                      §
 ASSOCIATION, TEXAS PRESS                          §
 ASSOCIATION, and JOSEPH                           §
 PAPPALARDO,                                       §
                                                   §
         Plaintiffs,                               §
                                                   §
 v.                                                §
                                                   §      CIVIL ACTION NO. 1:19-CV-00946
 STEVEN MCCRAW, in his official                    §
 capacity as Director of Texas Department          §
 of Public Safety, DWIGHT MATHIS, in               §
 his official capacity as Chief of the Texas       §
 Highway Patrol, and WES MAU, in his               §
 official capacity as District Attorney of         §
 Hays County, Texas,                               §
                                                   §
         Defendants.                               §

                                    ADVISORY TO THE COURT

        Defendant Wes Mau, in his official capacity as District Attorney of Hays County, Texas,

files this Advisory to the Court.

        1.       On May 16, 2021, Defendant Wes Mau, in his official capacity as District Attorney

of Hays County, Texas, filed a Motion to Extend Time to File Notice of Appeal (Dkt. 83).

        2.      Prior to filing this Motion, lead counsel for Wes Mau (Michael Shaunessy)

attempted to contact lead counsel for Plaintiffs (Jim Hemphill) in an effort to confer on the Motion;

however, the two were unable to speak before the Motion was filed.

        3.      After filing the Motion, lead counsel for Plaintiffs contacted lead counsel for Wes

Mau, and informed him that Plaintiffs are not opposed to Wes Mau’s Motion to Extend Time to

File Notice of Appeal (Dkt. 83).




Defendant Wes Mau’s Advisory to the Court                                                Page 1 of 3
2592359.v4
             Case 1:19-cv-00946-RP Document 84 Filed 05/17/22 Page 2 of 3




                                            Respectfully submitted,

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                                            By: /s/ Michael A. Shaunessy
                                                Michael A. Shaunessy
                                                State Bar No. 18134550

                                            Attorneys for Defendant Wes Mau, in his official
                                            capacity as District Attorney of Hays County,
                                            Texas




Defendant Wes Mau’s Advisory to the Court                                             Page 2 of 3
2592359.v4
             Case 1:19-cv-00946-RP Document 84 Filed 05/17/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I hereby certify that on this the 17th day of May 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

 James A. Hemphill                                  David A. Schulz
 Graves, Dougherty, Hearon & Moody, P.C.            Jennifer Pinsof
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 Attorneys for Plaintiffs



and I hereby certify that I have e-mailed the document to the following non-CM/ECF participant:

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 Attorneys for Plaintiffs



                                                 /s/ Michael A. Shaunessy
                                                 Michael A. Shaunessy




Defendant Wes Mau’s Advisory to the Court                                               Page 3 of 3
2592359.v4
